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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                    CASE NO. 8:09-CR-5-T-17-EAJ


NERY CAMPAZ-GUERRERO
                                           /
                                               ORDER

        This cause comes before the Court on the defendant’s motion for modification of
sentence, the requested modification was based on the retroactive application of revised cocaine
base sentencing guidelines (Doc. 192). The Court appointed counsel in this case but the Federal
Public Defender satisfied the requirements in the 782 Omnibus Order and was allowed to
withdraw. The Court allowed the defendant time to file a new motion to dismiss (Doc. 73) but
he failed to file any further motion. The Court has reviewed the motion, the Amended
Assesment for the United States Probation Office, and the response to the motion by the
government (Doc. 196). The Court concludes that the defendant is not eligible for a reduction in
sentence based on the amended guidelines and adopts the position of the Probation Office and
the government that the offense of conviction is not a drug offense. Accordingly, it is.
        ORDERED that defendant’s motion for modification of sentence be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 2nd day of September,
2015.
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Copies furnished to: All Counsel of Record
